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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION
 _______________________________________________
 ARTHUR DOE et al.,                              :
                                                 :
                                Plaintiffs       : Civil Case No. 3:16-CV-
                                                 : 00789-CWR-FKB
                v.                               :
                                                 :
 JIM HOOD et al.,                                :
                                                 :
                                Defendants       :
 _______________________________________________ :

                                    PARTIAL JUDGMENT

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that on May 10, 2018,

this Court entered an Order [Doc. ] resolving all claims of Plaintiffs convicted of violating

Louisiana’s Crime Against Nature by Solicitation (“CANS”) statute, La. R.S. §14:89(A)(2) or

La. R.S. §14:89.2(A) and requiring Defendants to cease registering individuals on the

Mississippi Sex Offender Registry on the basis of a CANS conviction. The terms of that Order

are incorporated by reference herein and are fully enforceable as part of this Partial Judgment.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that because partial

judgment is granted for Plaintiffs convicted of violating Louisiana’s Crime Against Nature by

Solicitation (“CANS”) statute, La. R.S. §14:89(A)(2) or La. R.S. §14:89.2(A), the case is

therefore DISMISSED WITH PREJUDICE AS TO THEIR CLAIMS.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court will

retain jurisdiction over this matter for eighteen (18) months after entry of this Partial Judgment to

enforce compliance with the terms of the Order [Doc. 103] entered by this Court on May 10,

2018.

         SO ORDERED on this the 10th day of May, 2018.
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                                       s/ Carlton W. Reeves
                                       UNITED STATES DISTRICT JUDGE


 AGREED TO AND APPROVED BY:

 s/Paul E. Barnes
 PAUL E. BARNES, MSB No. 99107
 WILSON MINOR, MSB No. 102663
 Special Assistant Attorneys General
 STATE OF MISSISSIPPI͒OFFICE
 OF THE ATTORNEY GENERAL
 Post Office Box 220͒
 Jackson, MS 39205͒
 Telephone No. (601)359-4072
 Facsimile: (601)359-2003
 pbarn@ago.state.ms.us
 wmino@ago.state.ms.us

 Attorneys for Defendants

 _/s/ Robert McDuff________
 Robert B. McDuff, Bar No. 103256
 767 North Congress Street
 Jackson, Mississippi 39202
 Tel: (601) 969-0802
 Fax: (601) 969-0804


 Ghita Schwarz, pro hac vice
 Center for Constitutional Rights
 666 Broadway, 7th Floor
 New York, NY 10012
 Tel: (212) 614-6478
 Fax: (212) 614-6499
 Email: gschwarz@ccrjustice.org

 _________________________
 Matthew Strugar, pro hac vice
 3435 Wilshire Blvd. Suite 2910
 Los Angeles, CA 90010
 Tel: (323) 739-2701

 Attorneys for Plaintiffs
